Case 2:24-cv-00887-JRG-RSP     Document 46   Filed 03/12/25   Page 1 of 16 PageID #:
                                      414



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION
                                        §
  EDGE NETWORKING SYSTEMS LLC,          §    Case No. 2:24-cv-00887-JRG
                                        §
                      Plaintiff,        §    JURY TRIAL DEMANDED
                                        §
          v.                            §
                                        §
  AMAZON.COM, INC., AMACON.COM          §
  SERVICES LLC, and AMAZON WEB          §
  SERVICES, INC.,                       §
                                        §
                      Defendants.       §
                                        §


             PLAINTIFF EDGE NETWORKING SYSTEMS LLC’S
                 OPPOSED MOTION FOR LEAVE TO FILE
        AMENDED COMPLAINT AGAINST AMAZON.COM SERVICES LLC
Case 2:24-cv-00887-JRG-RSP                       Document 46                Filed 03/12/25               Page 2 of 16 PageID #:
                                                        415



                                                TABLE OF CONTENTS

                                                                                                                                  Page(s)

 I.     FACTUAL BACKGOUND................................................................................................ 1

 II.    LEGAL STANDARD ......................................................................................................... 3

 III.   ARGUMENT ...................................................................................................................... 4

        A.        Edge Networking’s Motion for Leave to Amend Should Be Granted Under
                  Rule 15(a)................................................................................................................ 4

        B.        Edge Networking’s Amendment Is Supported by Good Cause.............................. 8

 IV.    CONCLUSION ................................................................................................................. 10




                                                                    i
Case 2:24-cv-00887-JRG-RSP                             Document 46                 Filed 03/12/25               Page 3 of 16 PageID #:
                                                              416



                                                   TABLE OF AUTHORITIES

                                                                                                                                         Page(s)

 Cases

 Advanced Neuromodulation Sys. v. Advanced Bionics Corp.,
    No. 4:04-cv-131, 2005 WL 8161795 (E.D. Tex. Jan. 28, 2005) ...............................................6

 Apex Beam Techs. v. TCT Mobile Int'l Ltd.,
    No. 2:21-cv-00438-JRG, 2024 WL 1744063, at *1-*2 (E.D. Tex. Apr. 22,
    2024) ..........................................................................................................................................3

 Blue Calypso, Inc. v. Groupon, Inc.,
    No. 6:12-cv-486, 2013 WL 12141428 (E.D. Tex. July 19, 2013) .............................................8

 Carson v. Polley,
    689 F.2d 562 (5th Cir. 1982) .....................................................................................................6

 Chitimacha Tribe of La. v. Harry L. Laws Co.,
    690 F.2d 1157 (5th Cir. 1983) ...................................................................................................3

 Cummins-Allison Corp. v. SBM Co.,
   No. 9:07CV196, 2009 WL 10690598 (E.D. Tex. Oct. 21, 2009) ..............................................6

 EMG Tech., LLC v. Vanguard Grp., Inc.,
   No. 6:12-cv-543, 2014 WL 12597427 (E.D. Tex. May 12, 2014) ..........................................10

 Engstrom v. First Nat’l Bank,
    47 F.3d 1459 (5th Cir. 1995) .....................................................................................................3

 Foman v. Davis,
    371 U.S. 178 (1962) ...................................................................................................................3

 H&R Block Tax Servs., Inc. v. Jackson Hewitt Tax Serv., Inc.,
   No. 6:08cv37, 2008 WL 11265109 (E.D. Tex. Dec. 23, 2008) .........................................6, 8, 9

 Hillman Grp., Inc. v. Keyme, LLC,
     No. 2:19-CV-00209, 2020 WL 6938441 *2 (E.D. Tex. Oct. 23, 2020) .....................................4

 Hydro-Quebec v. Valence Tech., Inc.,
    No. A-06-CA-111-SS, 2011 WL 13175075 (W.D. Tex. Nov. 1, 2011) ....................................7

 LBS Innovations., LLC v. Aaron Bros., Inc.,
    No. 2:11-cv-142, 2012 WL 12897919 (E.D. Tex. Nov. 9, 2012) ........................................8, 10

 Lyn-Lea Travel Corp. v. Am. Airlines, Inc.,
    283 F.3d 282 (5th Cir. 2002) .....................................................................................................3


                                                                         ii
Case 2:24-cv-00887-JRG-RSP                           Document 46                Filed 03/12/25               Page 4 of 16 PageID #:
                                                            417



 Modern Grp. Ltd. v. Pinnacle Cos.,
   No. 1-12-cv-43, 2013 WL 12139155 (E.D. Tex. Mar. 14, 2013) ..............................................7

 OnPoint Sys., LLC v. Protect Animals with Satellites, LLC,
   No. 4:20-cv-657, 2021 WL 3140562 (E.D. Tex. July 26, 2021) .......................................4, 5, 6

 S&W Enters., L.L.C. v. SouthTrust Bank of Ala., NA,
   315 F.3d 533 (5th Cir. 2003) .................................................................................................3, 4

 Tendler Cellular of Tex., LLC v. Mercedes-Benz USA, LLC,
    No. 6:11-CV-178, 2012 WL 12905979 (E.D. Tex. Apr. 3, 2012).............................................5

 Wiggins v. La. State Univ.-Health Care Servs. Div.,
    710 F. App’x 625 (5th Cir. 2017) ..............................................................................................7

 Other Authorities

 Fed. R. Civ. P. 12(b)(6)....................................................................................................................7

 Fed. R. Civ. P. 15 .....................................................................................................................3, 4, 6

 Fed. R. Civ. P. 15(a) ................................................................................................................3, 4, 5

 Fed. R. Civ. P. 16 .........................................................................................................................3, 4

 Fed. R. Civ. P. 16(b) ................................................................................................................3, 4, 8




                                                                       iii
Case 2:24-cv-00887-JRG-RSP           Document 46       Filed 03/12/25      Page 5 of 16 PageID #:
                                            418



        Plaintiff Edge Networking Systems LLC (“Edge Networking” or “Plaintiff”) respectfully

 requests that the Court grant Edge Networking leave to file its Amended Complaint against

 Amazon.com Services LLC to: (1) remove two defendants, Amazon.com, Inc. and Amazon Web

 Services, Inc. (collectively, “Amazon” or “Defendants”), from the case; and (2) assert four

 additional patents, U.S. Patent Nos. 12,113,850; 12,113,851; 12,126,673; and 12,126,674

 (collectively, “the Additional Patents”), each of which is related to the three currently asserted

 patents. A copy of Edge Networking’s Proposed Amended Complaint is filed with this Motion as

 Exhibit 1 and a redline of the Proposed Amended Complaint, as compared to the Complaint, is

 filed with this Motion as Exhibit 2. Defendants oppose this Motion.

 I.     FACTUAL BACKGOUND

        Edge Networking filed its Complaint on November 1, 2024, alleging infringement of three

 patents by three related Amazon entities—Amazon.com, Inc., Amazon.com Services LLC, and

 Amazon Web Services, Inc. Dkt. 1. The accused products include Amazon’s Elastic Kubernetes

 Service (“EKS”) Web Services. Id.

        The Court held a scheduling conference on January 21, 2025, and Edge Networking served

 infringement contentions on February 4, 2025. Dkt. 31. The Court entered the parties’ agreed

 Docket Control Order on February 6, 2025, which set Amazon’s invalidity contentions on April

 29, 2025, claim construction exchanges to begin on October 3, 2025, a claim construction hearing

 on February 6, 2026, and jury selection on August 7, 2026. Dkt. 32.

        On February 9, 2025, Defendants Amazon.com, Inc. and Amazon Web Services, Inc. filed

 a motion to dismiss, arguing that neither of these entities has a “regular and established place of

 business” in this District as required to lay venue. Dkt. 35. The third Defendant, Amazon.com

 Services LLC, filed an answer and counterclaims on February 16, 2025. Dkt. 41.
Case 2:24-cv-00887-JRG-RSP            Document 46         Filed 03/12/25      Page 6 of 16 PageID #:
                                             419



        On March 4, 2025, counsel for Edge Networking informed counsel for Defendants that

 Edge Networking intended to file a motion for leave to file an amended complaint. In the proposed

 Amended Complaint, Edge Networking seeks to: (1) drop the entities that moved to dismiss,

 Amazon.com, Inc. and Amazon Web Services, Inc.; and (2) add four Additional Patents to the

 case, each of which is in the same family as the three currently asserted patents. As the deadline

 to amend pleadings in this case is November 21, 2025 (Dkt. 32 at 5), Edge Networking could have

 dropped entities from the case as a matter of right, but the Docket Control Order requires leave of

 Court to add new patents, even in this early stage of the case. See id. (“[i]t is not necessary to seek

 leave of Court to amend pleadings prior to this deadline unless the amendment seeks to assert

 additional patents.”).

        Each of the four Additional Patents is in the same patent family as the three originally-

 Asserted Patents, share the same two inventors and prosecuting attorneys, and is technologically

 related to the currently Asserted Patents. The scope of the Accused Products and the proofs relied

 upon will not change. The majority of the claims of the Additional Patents are merely method

 claim analogues of the currently-asserted system and apparatus claims. Compare Ex. 3, cl. 1 with

 ’871 Patent (Dkt. 1-3), cl. 1. If the Amended Complaint is entered, there is significant remaining

 time in the schedule for the parties to prepare and serve new sets of infringement and invalidity

 contentions without disturbing the current claim construction schedule (or any remaining dates in

 the Docket Control Order). Defendants have been made aware of the Additional Patents, and any

 prejudice to Defendants is minimal, given the early stages of the case. Dropping two entities should

 also not be controversial—these entities moved to dismiss and could have been dropped as of right.

        After meeting and conferring, Amazon stated that it would not oppose the motion on the

 conditions that: (1) the entire schedule, including the trial date, be amended to add 3-4 months




                                                   2
Case 2:24-cv-00887-JRG-RSP            Document 46        Filed 03/12/25     Page 7 of 16 PageID #:
                                             420



 (placing the trial date at November 6, 2026); and (2) that Edge Networking agree that it will not

 seek to add Amazon Web Services or Amazon.com, Inc. as parties to this litigation to the extent

 the case remains in the Eastern District of Texas. Because these conditions are not acceptable to

 Edge Networking, this Motion is being filed as opposed.

        Adding the Additional Patents against Defendants in this case would result in efficiencies

 for both the Court and the parties, given that they involve the same technology and same Accused

 Products as the patents already asserted in the case.

 II.    LEGAL STANDARD

        Courts have considered these types of motions under both Fed. R. Civ. P. 15 and 16. Apex

 Beam Techs. v. TCT Mobile Int’l Ltd., No. 2:21-cv-00438-JRG, 2024 WL 1744063, at *1-*2 (E.D.

 Tex. Apr. 22, 2024) (granting leave to amend complaint to add patents under either Fed. R. Civ.

 P. 15 or 16).

        Rule 15(a) provides that leave to amend shall be “freely give[n] when justice so requires.”

 Fed. R. Civ. P. 15(a); see also Engstrom v. First Nat’l Bank, 47 F.3d 1459, 1464 (5th Cir. 1995).

 The well-settled law of the Fifth Circuit holds that the language of Rule 15(a) “evinces a bias in

 favor of granting leave to amend.” Lyn-Lea Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282, 286

 (5th Cir. 2002) (quoting Chitimacha Tribe of La. v. Harry L. Laws Co., 690 F.2d 1157, 1162 (5th

 Cir. 1983)). Refusing leave to amend is generally only justified upon a showing of undue delay,

 undue prejudice to the opposing party, bad faith or dilatory motive, failure to cure deficiencies by

 amendments previously allowed, or futility of the amendment. See Foman v. Davis, 371 U.S. 178,

 182 (1962).

        Rule 16(b) applies to determining whether leave to amend pleadings should be granted

 when the deadline for doing so has already passed. See S&W Enters., L.L.C. v. SouthTrust Bank of




                                                  3
Case 2:24-cv-00887-JRG-RSP            Document 46        Filed 03/12/25      Page 8 of 16 PageID #:
                                             421



 Ala., NA, 315 F.3d 533, 536 (5th Cir. 2003) (“Rule 16(b) governs amendment of pleadings after a

 scheduling order deadline has expired.”). In determining whether good cause exists to support an

 amendment, the court considers “(1) the explanation for the failure to [timely move for leave to

 amend]; (2) the importance of the [amendment]; (3) potential prejudice in allowing the

 [amendment]; and (4) the availability of a continuance to cure such prejudice.” Id. at 536 (citations

 and footnote omitted).

 III.   ARGUMENT

        A.      Edge Networking’s Motion for Leave to Amend Should Be Granted
                Under Rule 15(a)

        The proposed amendment is not required to satisfy the “good cause” requirement of Rule

 16(b) because the deadline to amend pleadings has not passed and is, in fact, eight months away.

 Dkt. 32 at 5 (deadline to file amended pleadings is set for November 21, 2025); see S&W Enters.,

 315 F.3d at 536 (Rule 16(b) only applies “after a scheduling order deadline has expired.”). Recent

 decisions by courts in this District have applied Rule 15(a) when adding patents, even when the

 motion to amend was filed very close to the deadline to amend pleadings. See OnPoint Sys., LLC

 v. Protect Animals with Satellites, LLC, No. 4:20-cv-657, 2021 WL 3140562, at *2 (E.D. Tex.

 July 26, 2021) (applying Rule 15(a) to determine whether to add patent based on motion to amend

 filed on “the same day as the court-ordered deadline to amend”). 1 Edge Networking’s Motion for

 leave to amend “shall be freely given” because Defendants do not face any prejudice as a result of



  1
   Edge Networking expects that Defendants will argue that Rule 16 rather than Rule 15 applies
  here because the amendment of Edge Networking’s Complaint would require amendment to the
  current Docket Control Order for Edge Networking to serve additional preliminary infringement
  contentions for these Additional Patents. However, this Court has not adopted that theory. See
  Hillman Grp., Inc. v. Keyme, LLC, No. 2:19-CV-00209, 2020 WL 6938441 *2 (E.D. Tex. Oct.
  23, 2020) (Gilstrap, J.) (declining to resolve conflict over whether plaintiff needed to satisfy
  Rule 16(b) to add new patents).



                                                  4
Case 2:24-cv-00887-JRG-RSP             Document 46         Filed 03/12/25       Page 9 of 16 PageID #:
                                              422



 Edge Networking’s proposed amendment; there is no undue delay, bad faith, or dilatory motive

 behind the proposed amendment; and the amendment is not futile.

         First, this case is still at an early stage. Amazon has not yet served its invalidity or subject-

 matter eligibility contentions, no party has served any discovery requests, substantive discovery

 has not yet begun, and the parties’ deadline to submit a joint claim construction statement is not

 due until November 14, 2025. See Dkt. 32. The Markman hearing is set for February 6, 2026, and

 trial will not start until August 7, 2026. Id. Due to the very early stage of this case, there is no

 potential prejudice to Defendants in allowing Edge Networking’s amendment. See OnPoint Sys.,

 2021 WL 3140562 at *2 (finding no undue prejudice where “[d]iscovery is still in its beginning

 stages and so it would not have to reopen, merely continue.”). Further, Edge Networking provided

 its intent to assert the Additional Patents on March 5, 2025, so Defendants were free to begin

 searching for any additional prior art (if needed) as of that date. Edge Networking is also amenable

 to a reasonable extension of Defendants’ deadline to file its invalidity contentions for these

 Additional Patents since Edge Networking will need to provide preliminary infringement

 contentions with respect to the Additional Patents. See Tendler Cellular of Tex., LLC v. Mercedes-

 Benz USA, LLC, No. 6:11-CV-178, 2012 WL 12905979, *1 (E.D. Tex. Apr. 3, 2012) (finding

 amendment to add new patent would not be unduly prejudicial because claim construction and trial

 were over six months away and “Tendler has asserted that it is amenable to modifying any existing

 deadlines or discovery obligations in order to accommodate the addition of the ’117 patent”).

         Second, Edge Networking’s amendment is not the result of undue delay. The amendment

 to remove two entities from the case is made in response to those entities moving to dismiss and

 providing declaration evidence regarding their business activities in this District.




                                                    5
Case 2:24-cv-00887-JRG-RSP           Document 46        Filed 03/12/25      Page 10 of 16 PageID #:
                                             423



        Each of the Additional Patents issued merely weeks before the Complaint in this case was

 filed. U.S. Patent Nos. 12,113,850 and 12,113,851 issued on October 8, 2024, while U.S. Patent

 Nos. 12,126,673 and 12,126,674 issued on October 22, 2024. Exs. 3–6. Thus, allowing Edge

 Networking to add the Additional Patents to this case, rather than requiring it to file a new case,

 will allow the parties to adjudicate all of Edge Networking’s infringement claims involving the

 Accused Products in a prompt and efficient manner. See Advanced Neuromodulation Sys. v.

 Advanced Bionics Corp., No. 4:04-cv-131, 2005 WL 8161795, *3 (E.D. Tex. Jan. 28, 2005)

 (granting leave to add “two new and related patents”); see also H&R Block Tax Servs., Inc. v.

 Jackson Hewitt Tax Serv., Inc., No. 6:08cv37, 2008 WL 11265109, *3 (E.D. Tex. Dec. 23, 2008)

 (granting leave to add new patent because there was factual overlap between the new patent and

 already asserted patents, “[t]he alternative would be for Plaintiff to file a second lawsuit against

 Defendant accusing the [new product] of infringement of the [new patent],” and “a single

 consolidated Markman briefing schedule, hearing, pretrial, and trial that includes the ’425 patent

 [would] conserve both party and judicial resources.”).

        Edge Networking’s Motion to amend is timely. This Motion is filed well before the

 November 21, 2025 Court deadline for amending pleadings. See OnPoint Sys., 2021 WL 3140562,

 at *2 (finding undue delay factor weighed in favor of granting motion because “Federal courts

 within the Fifth Circuit have found that there is a presumption of timeliness if the movant files its

 motion to amend by the court-ordered deadline”) (internal quotations omitted). Additionally,

 while the timing of a patentee’s assertion is one factor to consider under Rule 15, “merely because

 a claim was not presented as promptly as possible does not vest the court with authority to punish

 the litigant.” Cummins-Allison Corp. v. SBM Co., No. 9:07CV196, 2009 WL 10690598, *1 (E.D.

 Tex. Oct. 21, 2009) (citing Carson v. Polley, 689 F.2d 562, 584 (5th Cir. 1982)). The claim




                                                  6
Case 2:24-cv-00887-JRG-RSP           Document 46        Filed 03/12/25      Page 11 of 16 PageID #:
                                             424



 construction process is not set to begin for approximately seven months. Dkt. 32. Thus, adding the

 Additional Patents now will not require another claim construction date or any other undue delay.

 Cf. Modern Grp. Ltd. v. Pinnacle Cos., No. 1-12-cv-43, 2013 WL 12139155, *2 (E.D. Tex.

 Mar. 14, 2013) (denying motion for leave to amend because “the court has already held the

 Markman hearing, issued a claim construction order, and scheduled dispositive motions”); see also

 Hydro-Quebec v. Valence Tech., Inc., No. A-06-CA-111-SS, 2011 WL 13175075, *4 (W.D. Tex.

 Nov. 1, 2011) (denying motion to add new patents because “further claim construction at this late

 date would cause undue delay”).

        Third, there is no evidence of bad faith or dilatory motive behind Edge Networking’s

 proposed amendment. Edge Networking seeks to drop two entities from the case because they

 have provided credible evidence regarding their activities in this District and has reason to believe

 Defendants’ Accused Products infringe the Additional Patents, and it would be inefficient to

 litigate this case elsewhere or file a new case against Defendants when this case involves the same

 parties and includes the same set of Accused Products.

        Fourth, the amendment is not futile. “Futility is determined under Rule 12(b)(6) standards,

 meaning an amendment is considered futile if it would fail to state a claim upon which relief could

 be granted.” Wiggins v. La. State Univ.-Health Care Servs. Div., 710 F. App’x 625, 628 (5th Cir.

 2017). Accepting as true all of the well-pleaded facts in Edge Networking’s proposed Amended

 Complaint, as is required under Rule 12(b)(6), Edge Networking has pled sufficiently specific facts

 to state a claim, including that the Accused Products are alleged to infringe the Additional Patents

 and what aspects of those products infringe.




                                                  7
Case 2:24-cv-00887-JRG-RSP           Document 46        Filed 03/12/25       Page 12 of 16 PageID #:
                                             425



        B.      Edge Networking’s Amendment Is Supported by Good Cause

        In the event the Court decides that Federal Rule of Civil Procedure 16(b) applies, Edge

 Networking’s Motion for leave to amend is supported by good cause.

        Importance of the Amendment. The proposed amendment is important because Edge

 Networking seeks to vindicate its patent rights with respect to the Additional Patents, and doing

 so in another case would be inefficient, given the significant overlap between the Accused Products

 and the identity of the accused technology among the two sets of patents. See Apex Beam, 2024

 WL at 1744063, at *2–*3 (“the Court is convinced that adjudicating the claims related to the

 Additional Patents alongside the claims related to the Original Asserted Patents will be more

 efficient than resolving these infringement allegations in separate cases”) (citing Blue Calypso,

 Inc. v. Groupon, Inc., No. 6:12-cv-486, 2013 WL 12141428, *1 (E.D. Tex. July 19, 2013)).

        Undue Prejudice/Availability of a Continuance. Edge Networking’s proposed Amended

 Complaint will not cause any undue prejudice to Defendants for several reasons. First, “the current

 trial setting provides adequate time to address any issues that might arise.” LBS Innovations., LLC

 v. Aaron Bros., Inc., 2:11-cv-142, 2012 WL 12897919, at *3 (E.D. Tex. Nov. 9, 2012). The claim

 construction hearing is not scheduled until early 2026; fact discovery closes on March 9, 2026;

 dispositive motions are due April 27, 2026; and trial is not scheduled to begin until August 7, 2026.

 Dkt. 32. In light of this trial schedule, any theoretical prejudice Defendants may face as a result of

 this amendment could easily be cured through the submission of amendment to the Docket Control

 Order without moving the “good cause” dates (e.g., a minor continuance). See H&R Block Tax

 Servs., 2008 WL 11265109 at *3. Second, the scope of the Accused Products in this action will

 not change. Edge Networking’s operative Infringement Contentions define the Accused Products

 as:




                                                   8
Case 2:24-cv-00887-JRG-RSP          Document 46        Filed 03/12/25     Page 13 of 16 PageID #:
                                            426



                 [A]ll versions and variants of Amazon Elastic Container Service
                 (“ECS”) and Amazon Elastic Kubernetes Service (“EKS”),
                 including all supporting software, servers, computer systems, and
                 infrastructures, since at least 2018. Moreover, the accused ECS and
                 EKS products further comprise at least the Amazon ECS scheduler,
                 AWS management console, AWS command line interface, AWS
                 SDKs, Copilot, AWS CDK, AWS Fargate, and EC2, AWS
                 Outposts, and any other component or supporting software or
                 hardware.

 Ex. 7 at 2. The products accused of infringing the Additional Patents will be identical, 2 and thus

 the scope of the case will not change. 3 The Additional Patents have the same two inventors and

 same patent prosecution firm as the currently Asserted Patents. Thus, the scope of discovery that

 Defendants must conduct related to conception, reduction to practice, inventorship, and

 prosecution will not change. Defendants’ EKS products are accused of infringing all of the patents

 in this case, and Edge Networking seeks to assert the Additional Patents against those same

 products. In sum, “the importance of efficiency and conserving party and judicial resources, on

 balance, outweighs the minimal prejudice Defendant will face as a result of the addition of the

 [new] patent.” H&R Block Tax Servs., 2008 WL 11265109, at *3 (granting leave to add new patent

 under 16(b)).

        Timeliness. Edge Networking is timely moving to amend for several reasons. With respect

 to the proposed dropped Defendants, Edge Networking is moving to amend in response to their

 Motion to dismiss. With respect to the Additional Patents, these patents were issued mere weeks

 before the Complaint in this action was filed on November 1, 2024. Edge Networking has

 determined that these patents are infringed, and that it would be more efficient for all of these




 2
   The scope of the Accused Products may be modified as discovery progresses, but the proposed
 amended complaint will not, on its own, change the scope of the products accused of infringing
 any patent in this action.
 3
   If anything, the scope of the case will be reduced with the removal of two defendants.


                                                 9
Case 2:24-cv-00887-JRG-RSP           Document 46        Filed 03/12/25       Page 14 of 16 PageID #:
                                             427



 disputes to be adjudicated in the current case. Given the early stage of this case, and the importance

 of this amendment, the Court should find good cause, even if it finds that this Motion is untimely.

 See EMG Tech., LLC v. Vanguard Grp., Inc., No. 6:12-cv-543, 2014 WL 12597427, *3 (E.D.

 Tex. May 12, 2014) (granting leave to amend because discovery had not yet closed, meaning

 “EMG had opportunity to inquire about AutoZone’s position” and there was thus no prejudice);

 LBS Innovations., 2012 WL 12897919, at *3 (granting leave to amend despite plaintiff’s failure to

 adequately explain delay based on other factors).

 IV.    CONCLUSION

        For the foregoing reasons, Edge Networking respectfully requests that the Court grant its

 Motion for Leave to File its Amended Complaint, and enter the proposed Amended Complaint

 attached hereto as Exhibit 1.


 Dated: March 12, 2025                          Respectfully submitted,

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                                                  10
Case 2:24-cv-00887-JRG-RSP   Document 46   Filed 03/12/25   Page 15 of 16 PageID #:
                                     428



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                                   EDGE NETWORKING SYSTEMS LLC




                                     11
Case 2:24-cv-00887-JRG-RSP          Document 46        Filed 03/12/25      Page 16 of 16 PageID #:
                                            429



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 12, 2025, a true and correct copy of the

 above and foregoing document has been served on all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                              /s/ Vincent J. Rubino, III
                                                 Vincent J. Rubino, III




                              CERTIFICATE OF CONFERENCE
        I hereby certify that the parties have met and conferred on the subject matter of this Motion

 and Defendants opposed Edge Networking’s Motion for Leave to File Amended Complaint.


                                              /s/ Vincent J. Rubino, III
                                                 Vincent J. Rubino, III
